     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 1 of 51




                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS

BUTLER COMMUNITY COLLEGE,

                        Plaintiff,
                                                 Case No.
      vs.

EMPLOYERS MUTUAL CASUALTY
COMPANY,

                        Defendant.


                                     COMPLAINT

      The plaintiff, Butler Community College (“the College”), for its Complaint

against the defendant, Employers Mutual Casualty Company (“EMC”), alleges:

                          I. NATURE OF THE ACTION

      1.     This is an insurance coverage action for breach of contract and, in the

alternative, declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202. In the

underlying action filed in this District, styled, Roger Mathews v. Butler Community

College, No. 17-1175-EFM (“the Lawsuit”), on March 5, 2020, a money judgment

was entered against the College based on claims under the federal and state acts

relating to age discrimination in employment. The Jury Verdict, Judgment, and

Memorandum and Order are attached as Exhibits A, B and C respectively. The

College seeks a determination that EMC has a duty to indemnify the College under

the Linebacker Public Officials and Employment Practices Liability Declarations,

Form CL7000A (10-12), Policy No. 5K33045, for the policy period July1, 2015

through July 1, 2016 (“the Policy”), attached hereto as Exhibit D.
      Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 2 of 51




                                  II. THE PARTIES

      2.     The College is a quasi-municipal corporation under the laws of the

State of Kansas and has its principal place of business in Butler County, Kansas.

      3.     EMC is incorporated under the laws of the State of Iowa, with its

headquarters and principal place of business located at 717 Mulberry St., Des

Moines, Iowa 50309.

                         III. JURISDICTION AND VENUE

      4.     This Court has subject matter jurisdiction over this action for

declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202 and Rule 57 of the

Federal Rules of Civil Procedure.

      5.     EMC defended the College in the Lawsuit under the Policy based on a

reservation of rights. An actual justiciable controversy between the College and

EMC exists within the meaning of 28 U.S.C. § 2201 regarding EMC’s duty to

indemnify the College under the Policy with respect to the Judgment entered in the

Lawsuit.

      6.     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1)

because the amount in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs, and the suit is between citizens of different states.

      7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a

substantial part of the events or omissions giving rise to this claim occurred in this

judicial district and the defendant resides in this judicial district.


                                            2
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 3 of 51




                        IV. THE UNDERLYING LAWSUIT

      8.     In the Lawsuit, the instructions as submitted to the jury, state that

plaintiff Roger Mathews claimed the College constructively discharged him because

of his age, and in retaliation for his expressed opposition to age discrimination.

      9.     The jury rendered a verdict for the plaintiff on the federal Age

Discrimination in Employment Act (“ADEA”), and the Kansas Act Against Age

Discrimination (“KADEA”) claims. For “lost back pay and benefits,” an item of

damages recoverable under both Acts, the jury awarded $298,000, and for “pain,

suffering and humiliation,” an item of damages recoverable only under the KADEA,

it awarded the maximum allowed, $2,000.

      10.    After the trial, on March 5, 2020, District Judge Eric Melgren awarded

$298,000 in liquidated damages under the ADEA, $92,000 in front pay under the

ADEA, and $254,046 in attorneys’ fees under the ADEA, and then entered the

Judgment for a total award of $944,046.

      11.    On April 15, 2020 clerk of the district court taxed against the College

$5,258.71 for costs.

                            V. THE INSURANCE POLICY

      12.    EMC issued Linebacker Public Officials and Employment Practices

Liability Declarations, Form CL7000A (10-12), Policy No. 5K33045, to the College

for the policy period July1, 2015 through July 1, 2016 (“the Policy”).

      13.    The College is listed in the Policy’s schedule of named insureds.



                                            3
         Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 4 of 51




         14.   The Policy provides insurance liability limits of $1 million for each

occurrence, and $2 million aggregate for the policy term, with a $10,000 deductible for each

claim.

         15.   The Judgment is within the coverage of the Policy’s Insuring

Agreement at Section 1, Coverage B—Employment Practices Liability:

         We will pay for “defense expense(s) and/or those sums that the insured
         becomes legally obligated to pay as “damages” because of an
         “employment wrongful act” rendered in discharging duties on behalf of
         the insured named in the Declarations.

         16.   At Section VI, Paragraph 16.a, the Policy defines “employment

wrongful act” as “any of the following actual or alleged practices . . .” including:


                                           ****

            (3) Wrongful: demotion, retaliation, evaluation, supervision, reassignment,
            or discipline;

            (4) Wrongful termination of employment including retaliatory or
            constructive discharge;

                                           ****

            (7) Any employment related coercion discrimination, or humiliation, as a
            consequence of race, color, creed, national origin, marital status, medical
            condition, gender, age, physical and or mental impairments, pregnancy,
            sexual orientation or preference or other status that is protected pursuant
            to any applicable federal, state, or local employment ordinance or statute.

                                           ****

         17.   The Judgment involves “employment wrongful acts” within the Policy’s

meaning.



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     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 5 of 51




      18.    EMC’s Policy is subject to policy exclusions. No exclusion applies to

limit coverage for the Judgment awards, in whole or part.

      VI. DEMAND FOR COVERAGE AND RESERVATION OF RIGHTS

      19.    The College tendered the Lawsuit to EMC seeking coverage under the

Policy.

      20.    By letter dated November 17, 2015, EMC agreed to defend the College

against the Lawsuit, but reserved certain rights under the Policy. The College has

satisfied all conditions precedent under the Policy to such defense and to

indemnification.

      21.    EMC sent the College a May 9, 2019 letter further addressing its

defense of the Lawsuit and its reservation of rights under the policy.

      22.    On March 17, 2020, after the jury’s verdict, EMC sent the College a

letter stating its position on insurance coverage for the Judgment and denying

coverage for the back pay award, the front pay award, and the liquidated damages

award, but admitting coverage for the $254,046 attorneys’ fees award and the

$2,000 award for “pain, suffering and humiliation.”

      23.    On March 20, 2020, the College demanded that EMC pay the

Judgment in full. EMC has not formally responded to that demand.

      24.    EMC has wrongfully denied coverage under the Policy for certain

Judgment awards.




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     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 6 of 51




                                COUNT I
                           BREACH OF CONTRACT

      25.   The College incorporates the allegations in paragraphs 1- 36.

      26.   EMC’s March 17, 2020 letter repudiates EMC’s duty to indemnify the

College against the Judgment awards for back pay, front pay, and liquidated

damages.

      27.   EMC has, therefore, breached the Policy.

      28.   The College will suffer damages in the amount of the Judgment, with

judgment interest, and its attorney fees and litigation expenses for this cause of

action based on EMC’s failure to pay the Judgment without just cause or excuse.

                                COUNT II
                          DECLARATORY JUDGMENT

      29.   The College incorporates the allegations in paragraphs 1- 36.

      30.   The College and EMC disagree about whether the Policy covers certain

awards in the Judgment.

      31.   In the event that Court decides that this controversy has not reached

the stage at which the College can obtain a contract remedy, pursuant to the

Uniform Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2201, the College

requests that the Court declare that EMC has a duty to indemnify and hold

harmless the College for the awards in the Judgment, because they are each within

Coverage A and no exclusion applies to limit that coverage.




                                         6
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 7 of 51




                             PRAYER FOR RELIEF

      32.   Plaintiff Butler Community College prays as follows: (a) For a breach

of contract judgment against Employers Mutual Casualty Company and a damages

award in the amount of the Judgment, with judgment interest, in the Lawsuit, and

the College’s attorney fees and litigation expenses in this action; and/or (b) For a

declaration that Employers Mutual Casualty Company has a duty to indemnify and

hold harmless the College for the Judgment in the Lawsuit; and (c) For such other

and further relief this Court may deem equitable, just and proper.

                                      Respectfully submitted,

                                      /s/ F. James Robinson Jr.
                                      F. James Robinson Jr, #11589
                                      Gaye B. Tibbets, #13240
                                      HITE, FANNING & HONEYMAN L.L.P.
                                      100 N. Broadway, Ste. 950
                                      Wichita, KS 67202-2209
                                      Telephone: (316) 265-7741
                                      Facsimile: (316) 267-7803
                                      E-mail: robinson@hitefanning.com
                                      E-mail: tibbets@hitefanning.com

                                      -and-

                                      Ray Connell, #8577
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                                      318 W. Central Ave.
                                      El Dorado, KS 67042
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                                      E-mail: ray@connellandconnell.com

                                      Attorneys for Plaintiff



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    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 8 of 51
        Case 6:17-cv-CA-175-EFM
               ,.       ',
                                Document 99 Filed 01/1~ Page 1 of 2



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                           IN THE UNITED STATES DISTRICT COURT                      U..s. _District Coult
                                                                                    Disllitt OfKansas .
                                FOR THE DISTRICT OF KANSAS
                                                                                     JAN 10 2020
                                                                             ClflltU.S, Dfstrict Court
ROGER MATHEWS,                               )                               By       C:m · Oepllly Cfllfl(
                                             )
              Plaintiff,                     )
                                             )
V                                            )   Case No, 17-1175-EFM
                                             )
BUTLER COMlv1lJt.1TY COLLEGE,               )
                                             )
              Defendant                      )



                                       VERDICT FORM

       WE, theJmy,:impaneled and sworn in the above: entitled case, upon our oaths, do make the

followrt1g answers to the following qirestions propounded by the Court.

       I.      Do you find that Butler Community College js liaMe to RQger Mathews for

-eonstructively discharging him because ofhls age?

                  ✓ Yes
               _ _ No



       2.      Do you find tha\ Butler Community College is liable to Roger Mathews for

constructively d:is~hm:Jng hlm in r~aliati.on for his expressed opposition to age 'discrimination?

               _V,__ YY:es                            .
               _ _ No




                                                                           EXHIBIT A
    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 9 of 51
       Case 6:17-cv-0"-~,75-EFM Document 99 Filed 01/lp.t.:;\O Page 2 of 2




!If your answers to the two questions above are "No,1' STOP.    Have your foreperson sign and
.date this forll! and notify the courtroom deputy that you hav(l' eompleteil your d.eliberations.
Answer the t'olll)wiUg questil)ns regarding 9a)'.llages only if you answered 4yes" to Questions
Nos. 1 or2.}


        3.      What monetmy amount, if any, sh@ld Roger!vlathe~ be awarded for his lost back
pay and benefits?
        $    -zc;ig f   t)O'D




        4.      What monetm'y amount, if any, not to exceed $2,000, should. Roger Mathews'

receive for his pain, suffering, and. humiliation?
        $ 2,c:>.:>D




        5.      Do you find thatany unlawful conductofButler Community College was willful?

                    t/Yes                                         ·

                ___ No


        6.      Was agreement on each of the above five. questions unanimous?


                  ~es
                ___ No



Date:                                  Presiding Juror:_
   Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 10 of 51
       Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 1 of 9




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


   ROGER MATHEWS,

                   Plaintiff;



   VS.                                                     Case No. 17-ll75-EFM

   BUTLER COMMUNITY COLLEGE,

                   Defendant.




                                MEMORA1''DUM AND ORDER

         Plaintiff Roger Mathews brought suit against Defendant Butler Community College for

age discrimination and retaliation under the Age Discrimination in Employment Act ("ADEA'')

and the Kansas Age Discrimination in Employment Act ("KADEA"). After a four-day jury trial,

the jury found Defendant liable to Plaintiff for constructive discharge and retaliation. The jury

awarded Plaintiff S298,000 for back pay and benefits and $2,000 for pain and suffering.

         Plaintiff is now before the Court requesting $298,000 in liquidated damages, $195,615 in

front pay, and $254,046 in attorney fees (Docs. 103, 106). Defendant does not oppose Plaintiff's

liqnidated damages or attorney foes request. However, Defendant contends that Plaintiff should

not be granted front pay. For the reasons explained in more detail below, the Court grants in part

and denies in part Plaintiff's Motion for Liquidated Damages and Front Pay (Doc. I 03) and grants

Plaintiffs Motion for Attorney Fees (Doc. 106).



                                                                        EXHIBIT B
    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 11 of 51
             Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 2 of 9




                               I.       Factual and Procedural Backgrouud

         Plaintiff worked for Defendant from 1980 through 2015. In 2015, Plaintiff was 64 years

old, and issues surrounding his employment began. 1 In mid-June 2015, Plaintiff began consulting

with the Martin Pringle law firm in Wichita, Kansas regarding these issues.

         Plaintiff filed suit against Defendant alleging age discrimination and retaliation in July

2017.        Significant written discovery occurred throughout the case.                  Six depositions were

conducted. Defendant filed a Motion for Summary Judgment, which Plaintiff opposed, that was

denied. Two attempts to re~olve the lawsuit through mediation also occurred.

         Trial ultimately commenced on January 6, 2020, and it concluded on January 10. The jury

found in Plaintiff's favor on his age discrimination claim, based on constructive discharge, and his

retaliation claim based on a complaint of age discrimination. They awarded $298,000 in back pay.

The jury also awarded the statutory maximum of $2,000 on Plaintiff's pain and suffering damages

under the KADEA. In addition, the jury found that Defendant's conduct was willful.

         Post-trial, Plaintiff filed a Motion for Liquidated Damages and Front Pay. In addition,

Plaintiff filed a Motion for Attorney Fees. Defendant only opposes the award of front pay. It

argues that an award of front pay would be inappropriate because Plaintiff waived his argument

for front pay by failing to request it in the Pretrial Order, by failing to present evidence of

entitlement to it during trial, and because Plaintiff has already been made whole.




         1
          Further detail on the factual background of this case is set forth in this Court's prior summary judgment
order. See Doc. 62. To the extent it is relevant to the award of liquidated damages, front pay, and attorney fees, the
Court incorporates it by reference here.



                                                         -2-
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 12 of 51
            Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 3 of 9




                                                  II.      Analysis

         Plaintiff seeks liquidated damages, front pay, and attorney fees. The Court will discuss

each in turn.

A.       Liquidated Damages

         Plaintiff seeks $298,000 in liquidated damages. Under the ADEA, an award of liquidated

damages is required if a defendant's conduct is found to be willful.2 A "liquidated damages award

should be equal to the award for back pay .... " 3

         Here, the jury found that Defendant's conduct was willful. It also awarded $298,000 in

back pay. Thus, Plaintiff is entitled to an equal amount in liquidated damages of$298,000.

B.       Front Pay

         Plaintiff also seeks $195,615 in front pay damages. This calculation is based on the

payment of Plaintiff's salary of $197,685 ($65,955 per year for the next three years) minus the

amount of pay he receives from his current part-time job of approximately $2,250 ($750 per year

for th_ree years). 4 Defendant contends that Plaintiff is not entitled to any front pay, but if he is

awarded any, it should be capped at $92,000.

        " 'Front pay is simply money awarded for lost compensation during the period between

judgment and reinstatement or in lieu of reinstatement' to make the plaintiff whole." 5 "Although



           2
             See 29 U.S.C. § 626(b); see also Greene v. Sqfeway Stores. Inc., 210 F.3d 1237, 1246 (10th Cir. 2000)
( citations omitted).
        3
            Elim v. W. £lee. Co., Inc., 731 F.2d 1473, 1480 (10th Cir. 1984) (superseded by statute on other grounds).
        4
         Testimony at trial demonstrated that Plaintiff began teaching part-time after his employment ended with
Defendant but only earned approximately $2,000 to $3,000 over the past four years.
        5
          Mclnnis v. Fairfield Communities, Inc., 458 F.3d 1129, 1145 (10th Cir. 2006) (quoting Abuan v. Level 3
Commc 'n, Inc., 353 F.3d 1158, 1176 (10th Cir. 2003).



                                                          -3-
    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 13 of 51
             Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 4 of 9




front pay may be appropriate when reinstatement is not possible, it is not a mandatory remedy."6

It is within the Court's discretion as to the amount, if any, to be awarded.7

         The following facts are relevant in assessing such an award:

         work life expectancy, salary and benefits at the time of termination, any potential
         increase in salary through regular promotions and cost of living adjustment, the
         reasonable availability of other work opportunities, the period within which the
         plaintiff may become re-employed with reasonable efforts, and methods to discount
         any award to net present value.

         In formulating a front-pay award the district court may consider all evidence
         presented at trial concerning the individualized circumstances of both the employee
         and employer, but it must avoid granting the plaintiff a windfall. 8

A plaintiff is not required to present evidence of front pay through expert testimony. 9 The

evidence, however, must be sufficient to support an award. 10

         In this case, both parties agree that reinstatement is not a feasible option. Defendant,

however, contends that Plaintiff is not entitled to front pay for three reasons. It states that ( 1)

Plaintiff waived his argument for front pay by failing to request it in the Pretrial Order; (2) Plaintiff

has already been made whole; and (3) Plaintiff failed to present evidence of entitlement to it during

trial.

         As to Defendant's contention that Plaintiff waived his argument for a front pay award, the

Court disagrees. Defendant states that front pay is the alternative to reinstatement, and Plaintiff



         6
             Mclnerney v. United Air Lines, Inc., 463 F. App'x 709, 725 (10th Cir. 201 I) (citation omitted).
         7
             Id.
         8
             Mcinnis, 458 F.3d at 1146 (citation omitted).
          9
            Womack v. Delaware Highlands AL Services Provider, LLC, 2012 WL 13029498, at *7 (D. Kan. 2012)
(citations omitted).
         io Id




                                                             -4-
    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 14 of 51
              Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 5 of 9




never requested reinstatement in the Pretrial Order. However, Plaintiff's damages calculation in

the Pretrial Order stated that he sought "lost salary (to anticipated age of retirement)." This

statement encompasses future damages or the possibility of front pay. Furthermore, in the Pretrial

Order, Defendant's assertion of the defense that Plaintiff was not entitled to recovery of front pay

demonstrates Defendant's notice of the possibility of front pay. Finally, Defendant's Motion in

Limine addressed front pay and asserted that Plaintiff should not be able to request liquidated

damages for future wages or future fringe benefits. I I

        Defendant also asserts that Plaintiff is not entitled to front pay because Plaintiff has already

been made whole. During trial, Plaintiff requested approximately $265,000 in back pay and an

unspecified amount in fringe benefits. The jury awarded $298,000 for wage and benefit damages.

Thus, Defendant asserts that Plaintiff received an award that made him whole. In addition,

Defendant contends that if you add the $298,000 that Plaintiff will receive in liquidated damages,

Plaintiff will receive more than two times as much as he requested at trial. Accordingly, Defendant

contends that Plaintiff should not receive front pay.

        Plaintiff, however, could not request liquidated damages at trial because it was not an issue

for the jury. Thus, Plaintiff could not ask for a specific dollar amount in trial but instead could

only seek the jury's finding of whether Defendant's actions were willful.                           In addition,

reinstatement and front pay are not issues for the jury. Instead, it is an equitable issue to be decided

by the Court.12 Finally, the ADEA allows for recovery of back pay, front pay, and liquidated



         11
            Defendant has an additional contention that Plaintiffs damages should be capped due to an amount
requested in the Pretrial Order. The Court will address this argument when discussing the sufficiency and amount of
Plaintiffs damages set forth at trial.
         12
              See Mcinnis, 458 F .3d at 1145-46 (citation omitted).



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   Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 15 of 51
          Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 6 of 9




damages.13 Thus, the Court will not take the limited view that Plaintiff has already been made

whole due to Plaintiffs evidence at trial of damages for back pay or that Plaintiff is also receiving

liquidated damages.

         Finally, Defendant argues that Plaintiff did not present sufficient evidence at trial of his

future wage loss. It contends that Plaintiff had discussed retirement far before he took it and that

the evidence showed that Plaintiff may have retired at any time. The problem with this argument

is that Plaintiff did not retire.         The jury made the finding that Plaintiff was constructively

discharged and retaliated against for filing an age discrimination complaint. Thus, Plaintiffs end

of employment with Defendant cannot be categorized as voluntary or the date at which he would

have retired. Furthermore, Plaintiffs inquiry regarding retirement benefits prior to his termination

does not demonstrate the date or timeframe in which Plaintiff intended to retire.

              "[A]n award of future damages in lieu ofreinstatement furthers the remedial purposes of

the ADEA by assuring that the aggrieved party is returned as nearly as possible to the economic

situation he would have enjoyed but for the defendant's illegal conduct."14 Plaintiff specifically

testified that he would not have retired until his mid-seventies. In addition, Plaintiff presented

evidence that he continues to work part-time at a place in which he could find employment. The

evidence also showed that at the time of Plaintiffs constructive discharge, he was 65 years old and

making $65,955 a year. Thus, there was sufficient evidence presented at trial to demonstrate future

wage loss.


          13 The Court recognizes that the award of liquidated damages may be a factor in determining the amount and

whether front pay is appropriate. See Price v. Marshall Erdman & Associates. Inc., 966 F.2d 320,326 (7th Cir. 1992)
(noting that the presence or absence ofliquidated damages may play a small role in the determination of the entitlement
to front pay).
         14
              EEOC v. Prudential Fed. Sav. & Loan Ass 'n, 763 F.2d 1166, 1173 (10th Cir. 1985).




                                                         -6-
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 16 of 51
               Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 7 of 9




          The only remaining question is the appropriate amount of front pay damages. As noted

above, Plaintiff testified that he would not have retired until his mid-seventies. He does not seek

front pay for that amount of time but rather for three years, totaling $195,615. Defendant objects

to the amount and contends that Plaintiffs amount should be capped at $92,000 due to the Pretrial

Order. The Pretrial Order included a graph of damages. In the column related to "Lost salary (to

anticipated age ofretirement)," the amount listed was $390,000. Defendant contends that because

Plaintiff already received $298,000 in damages (related to back pay), he is only entitled to an

additional $92,000 in damages (for front pay) to equal his lost salary.

          Front pay is an attempt to make a plaintiff whole, but it is not intended to grant a windfall. 15

Plaintiff has already been awarded approximately four years' worth of back pay. To award

Plaintiff an additional three years of front pay would be granting him seven years' worth of

compensatory damages in salary. Furthermore, Plaintiffs damages calculation in the Pretrial

Order for lost salary to tbe anticipated age of retirement was $390,000. Plaintiff has already been

awarded $298,000. Thus, the Court, in its discretion, caps the lost salary damage amount at

$390,000-the amount in the Pretrial Order. Accordingly, the Court grants Plaintiff a front pay

award of $92,000. 16

C.        Attorney Fees

          Plaintiff seeks $254,046 in attorney fees. Defendant has agreed and stipulated that the

attorney fees requested by Plaintiff are fair, reasonable, and necessary to properly prosecute the

matter.



          15
               Whittington v. Nordam Group Inc., 429 F.3d 986, 1001 (10th Cir. 2005) (citation omitted).
          16
               The Court notes that this equals an additional one and one-half years' worth of pay.



                                                            -7-
    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 17 of 51
              Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 8 of 9




         The ADEA requires an award of reasonable attorney's fees and costs to the prevailing

party. 17 Plaintiff must demonstrate that he is the prevailing party and that the requested fees are

reasonable. 18 A reasonable fee is determined by calculating a "lodestar amount" which is done by

multiplying the number of hours reasonably spent by a reasonable hourly rate. 19 The party

requesting the fee "bears the burden of establishing entitlement to an award and documenting the

appropriate hours expended and hourly rates."20

         Here, Plaintiff is the prevailing party. In addition, the attorney fee request is reasonable.

Plaintiff attaches several exhibits to his motion containing billing records and an affidavit from

one of his counsel. The hours expended on the case, 938 for two attorneys, a paralegal, and a

paralegal assistant, are reasonable considering the length of time the case was litigated and the

four-day jury trial. Furthermore, the hourly rate for the partner, senior associate, paralegal, and

paralegal assistant are in proportion to the billing rates in the Wichita, Kansas area. Thus, the

Court finds that the attorney fee request in the amount of $254,046 is reasonable and grants

Plaintiff's motion.

         IT IS THEREFORE ORDERED that Plaintiff's Motion for Liquidated Damages and

Front Pay (Doc. 103) is GRANTED IN PART AND DENIED IN PART. Plaintiff is awarded

$298,000 in liquidated damages. Plaintiff is awarded $92,000 in front pay.




         17
           29 U.S.C. § 626(b) (referencing 29 U.S.C. § 216(b)); see also Dalal v. Alliant Techsystems, Inc., 182 F.3d
757, 760 (10th Cir. 1999) ("By reference to the Fair Labor Standards Act (29 U.S.C. § 216(b)), the ADEA requires
the award of reasonable attorney's fees and costs to a prevailing party.").
         18
              Latin v. Bellio Trucking, Inc., 720 F. App'x 908,910 (10th Cir. 2017).
         19
              Case v. Unified Sch. Dist. No. 233, 157 F.3d 1243, 1249 (10th Cir. 1998).
         20
              Id. (citation omitted).



                                                           -8-
   Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 18 of 51
        Case 6:17-cv-01175-EFM Document 110 Filed 03/05/20 Page 9 of 9




      IT IS FURTHER ORDERED that Plaintiffs Motion for Attorney Fees (Doc. 106) is

GRANTED. Attorney's fees are granted in the amount of $254,046.

      IT IS SO ORDERED.

      Dated this 5th day of March, 2020.



                                                 /~· ? 4'4~
                                                 ERIC F. MELGREN
                                                 UNITED STATES DISTRICT JUDGE




                                           -9-
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              Case
                 6:20-cv-01101-EFM-GEB
                    6:17-cv-01175-EFM Document
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                                                          04/16/20 Page
                                                                   Page 119ofof1 51


AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 United States District Court
                                                       DISTRICT OF                           KANSAS

ROGER MATHEWS,

                                                                          JUDGMENT IN A CIVIL CASE
                                               Plaintiff,
                                     V.
                                                                          CASE NUMBER: 17-1175-EFM
BUTLER COMMUNITY COLLEGE,



                                               Defendant.
 ✘ Jury Verdict. This action came before the Court for a trial by jury, The issues have been tried and the jury has rendered
 □ its verdict.
 ✘ Decision by Court. This action came before the Court. The issues have been considered and a decision has been
 □ rendered.

 IT IS ORDERED AND ADJUDGED

 that Plaintiff recovers from Defendant damages in the amount of Three Hundred Thousand Dollars and 0/100
 ($300,000) plus post-judgment interest at the rate of 1.55% as provided by law.

 IT IS FURTHER ORDERED that pursuant to the M&O filed on March 5, 2020 at Doc. 110, Plaintiff’s Motion for
 Liquidated Damages and Front Pay (Doc. 103) is GRANTED IN PART AND DENIED IN PART. Plaintiff is
 awarded $298,000 in liquidated damages. Plaintiff is awarded $92,000 in front pay.

 IT IS FURTHER ORDERED that pursuant to the M&O filed on March 5, 2020 at Doc. 110, Plaintiff’s Motion for
 Attorney Fees (Doc. 106) is GRANTED. Attorney’s fees are granted in the amount of $254,046.


 This case is now closed.




                                                                                     EXHIBIT C



 3/5/2020                                                         TIMOTHY
                                                                  RALPH L. M. O'BRIEN
                                                                           DeLOACH
Date                                                              Clerk


                                                                                     /s Cindy McKee
                                                                 (By) Deputy Clerk
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 20 of 51


IEMCinsurance Companies
  EMPLOYERS MUTGA:S CASUALT"! COMPANY                  PRIOR POLICY: lKl-43-42
         1 I N E B A C K E R     P U E L I C   O ~ F I C I A 1 S   A N D
          E M? L O Y K E N 1      P R A C T I C E S   L I A B I L I T Y
                              D E C L A R A T T O N S
                                                                                  *------------------------W
   POLICY PERIOD: FROM              07/01/15         'IO       07/01/16           *    POLICY NGMBER       *
                                                                                  * 5 K 3   3 0 - 4 5---16 *
                                                                                  *------------------------*
       N A ME      :J         I N S U R E D                                   P R O DUC E R
 BUTLER COMMUNITY COLLEGE                                             INSURANCE CENTER, INC
 9Cl S EAVE"\HILL RD                                                  ( EL :)ORA.DO)
 EL DORADO KS 67042-3225                                              120 W CENTRAL AVE
                                                                      20 BOX 981
                                                                      EL DORADO KS 67042-0981

                                                                           AGEN'I': AL 7265
     AGEl½CY Bii,L                                                         AGENT PEONE: 316-267-2467
                                                                                                                   -    -
    INSURED IS:             NOT FOR PROFIT ORG                  BUSINESS DESCRIPTION:                COLLEGE
        *w*****************w**w*****************w****************x*******
        *   T H I S   I S   A  CLP.~IMS       MA D E    P O L I C Y     *
        *                                        R E A D              C A R E F U L L Y                        *

               L        I     M I    "'   S      0         F      L    I     A   B   I   L    I    T     Y
                EACH LOSS                                                                s        1,000,000

               AGGREGATE FOR ZP~CH FOL:CY TERM                                           $        2,000,000

                .T:-JSUL\ED 1 S DEDUCTIBLE EAC:1 CLAI::-1                                s
                   (~NCLUDING DEFENSE EXPENSE)

            li\ETROACTIVJ!l DATE AND EXCESS EXTENDED li\EPORTING PERIOD:
               THIS INSURANCE DOES NOT APPLY TO WRONGFUL ACTS WHICH OCCUR
               BEFORE THE li\ETROACTIVJ!l DATE SHOWN BELOW.
                 li\ETROACTIVJ!l DATE: 09/01/90
               AVAILABLE SUPPLEMENTAL EXTENDED li\EPORTING PERIOD: (UNLIMITED)




                                                                 TOTAL ADVANCS PREMIUM               $


  COVERAGE :::s PrtOVlDED FOR BOA?D AND ALL EMP::.iOYEES

            (THE ADVAl\CE PREMIUM IS A MlN!MUiv: PREMIUM F'OR THE POLICY TERM)
                                 A $100 MINIMUM POLICY PREM:UM APPLIES
                            IF POLICY IS CA'.,;CE::,LED AFTEct THF., EFFEC'"IVE D>'.TE



 CATE OF ISSUE: 07/01/15 BPF                                                                              CONTINUED
 FOctM CL7000A (10-12)   BPP                  04/lctl5                 019               L7              ~K33C45 1601

                                                                                              EXHIBIT D
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 21 of 51


IEMCinsuranc.e G»npanies
 PAGE 2
 EMPLOYERS MUTlJAL CASUALTY COMP.!U7Y                         POLICY N\:?!{BER: SKJ-30-45
 BUTLER COMM COLLEGE                  EFF DP~TE:   07/01/15         EXP DA'::E: 07/01/16

  FORMS APPLICABLE;:
     CL70Ql (10/12) *, CL7110 (01/08) *, CL7:16 (01/08) *, CL7128110/12) *,
     CL7153(10/l2}*, c:.7156(01./15)"', CL7:61(01    o;·x, CL7176(10/12)*,
     CL7202(10/12)*, CL8317(10/12)*r IL7012(02/12)*, IL7131A(D4/01)*,
     IL7137 .1 (01/08) .,, 117149(01/08) *, IL7326(02/12) *, IL7605(01/08) *,
     IL8383.2A(01/151*, IL8384A(Ol/08)*




 DATE OF ISSUE: 07/Cl/15 EPP
 FORM CL7000A (:0-LI.;   BPP     04/15/15          019           '.L7      5K33Q45   1601
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 22 of 51


IEMCinsurance Olmpanies
 EMPLOYERS MUTUAL CASUALTY COMPANY                     POLICY NUMBER: 5K3-30-45---16

 BUTLER COMMUNITY COLLEGE                  EFF DATE: 07/01/15     EXP DATE: 07/01/16

                       L I N E B A C K E R       P O L I C Y
                              D E C L A R A T I O N S
 =================================================================--=====--==--
                               ENDORSEMENT SCHEDULE

             EDITION
  FORM        DATE   DESCRIPTION/ADDITIONAL INFORMATION                       PREMIUM
 ------------------------------------------------------------------------------
*CL7001       10-12   LINEBACKER COVERAGE FORM
*CL 7110      01-08   NUCLEAR ENERGY LIABILITY EXCLUSION
*CL7116       01-08   EXCL-DATA PROCESSORS E&O
*CL7128       10-12   TORT LIABILITY ENDORSEMENT
*CL 7153      10-12   EXCL-FUNGI OR BACTERIA
*CL7156       01-15   CAP ON LOSSES CERT ACTS OF TERRORISM
*CL7161       01-10   EXCL PUNITIVE DMGS ACTS OF TERRORISM
*CL 717 6     10-12   EXTENDED REPORTING PERIOD AMENDATORY
*CL7202       10-12   DATA COMPROMISE EXCLUSION
*CL8317       10-12   POLICYHOLDER NOTICE
*IL7012       02-12   KS CHANGES - CANCELLATION/NONRENEWAL
*IL7131A      04-01   COMM'L POLICY ENDORSEMENT SCHEDULE
*IL7137.l     01-08   EXCL MIXED DUST PNEUMOCONIOSIS
*IL7149       01-08   COMMON POLICY CONDITIONS
*IL 7326      02-12   CALCULATION OF PREMIUM
*IL7605       01-08   KANSAS COMPANY ELIMINATION
*IL8383.2A    01-15   DISCL PURSUANT TERRSM RISK INS. ACT                 $        78
*IL8384A      01-08   TERRORISM NOTICE




  DATE OF ISSUE: 07/01/15
  FORM: IL7131A (ED. 04-01)          BPP         019      L7          5K33045    1601
     Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 23 of 51


IEMCinsurance Companies
 EMPLOYERS MUTUAL CASUALTY COMPANY                    POLICY NUMBER: 5K3-30-45---16
 BUTLER COMMUNITY COLLEGE                  EFF DATE: 07/01/15    EXP DATE: 07/01/16




                       T E R R O R I S M       N O T I C E


      This insurance may include coverage for certified acts of terrorism
      as defined in the Terrorism Risk Insurance Act, as amended.

      Attached you will find a disclosure, which identifies the specific
      charge for certified acts of terrorism.




           YOU MAY HAVE THE OPTION TO REJECT THIS TERRORISM COVERAGE
           ---------------------------------------------------------
             For additional information, please contact your agent




  DATE OF ISSUE: 07/01/15
  FORM: IL8384A (01-08)              BPP         019     L7          5K33045   1601
       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 24 of 51


IEMCinsurance Companies
 EMPLOYERS MUTUAL CASUALTY COMPANY                      POLICY NUMBER: 5K3-30-45---16
 BUTLER COMMUNITY COLLEGE                  EFF DATE:   07/01/15    EXP DATE: 07/01/16

     THIS DISCLOSURE IS ATTACHED TO YOUR POLICY IN RESPONSE TO THE DISCLOSURE
     REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS DISLOSURE DOES
     NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE
     UNDER THE POLICY.

                    D I S C L O S U R E      P U R S U A N T   T 0
              T E R R O R I S M   R I S K      I N S U R A N C E   A C T
     -----------------------------------------------------------------------
                                 S C H E D U L E
        Terrorism Premium (Certified Acts)  $78.00
     -----------------------------------------------------------------------
     A. Disclosure Of Premium:
        In accordance with the federal Terrorism Risk Insurance Act, we are
        required to provide you with a notice disclosing the portion of
        your premium, if any, attributable to coverage for terrorism acts
        certified under the Terrorism Risk Insurance Act. The portion of
        your premium attributable to such coverage is shown in the Schedule
        of this disclosure or in the policy Declarations.

     B. Disclosure Of Federal Participation In Payment Of Terrorism Losses:
        The United States Government, Department of the Treasury, will pay
        a share of terrorism losses insured under the federal program. For
        losses occurring in 2015, the federal share equals 85% of that portion
        of the amount of such insured losses that exceeds the applicable insurer
        retention. Beginning on January 1, 2016, the federal share will
        decrease by one percentage point per calendar year until equal to 80% of
        that portion of the amount of such insured losses that exceeds the
        applicable insurer retention. However, if aggregate insured losses
        attributable to terrorist acts certified under the Terrorism Risk
        Insurance Act exceed $100 billion in a calendar year, the Treasury shall
        not make any payment for any portion of the amount of such losses that
        exceeds $100 billion.

     C. Cap On Insurer Participation In Payment Of Terrorism Losses:
        If aggregate insured losses attributable to terrorist acts certified
        under the Terrorism Risk Insurance Act exceed $100 billion in a calendar
        year and we have met our insurer deductible under the Terrorism Risk
        Insurance Act, we shall not be liable for the payment of any portion of
        the amount of such losses that exceeds $100 billion, and in such case
        insured losses up to that amount are subject to pro rata allocation in
        accordance with procedures established by the Secretary of the Treasury.

        The following statement is required to be part of the disclosure notice
        in MISSOURI:
        The premium above is for certain losses resulting from certified acts of
        terrorism as covered pursuant to coverage provisions, limitations and
        exclusions in this policy. You should read the definition in your policy
        carefully, but generally speaking, ''certified'' acts of terrorism are
        acts that exceed $5 million in aggregate losses to the insurance
        industry and which are subsequently declared by the U.S. Secretary of
        the Treasury as a certified terrorist act under the Terrorism Risk
        Insurance Act. Some losses resulting from certified acts of terrorism
        are not covered. Read your policy and endorsements carefully.



    Includes copyrighted material of ISO Properties, Inc. with its permission
@      if .2A - .2A if 0115 - 0115 . ;gto lin2 .       il8383.2A 0115:Extra Line

    DATE OF ISSUE: 07/01/15
    FORM: IL8383.2A(01-15)           BPP         019       L7          5K33045   1601
      Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 25 of 51


IEMClnsurance G>mpanies
  EMPLOYERS MUTUAL CASUALTY COMPANY                         POLICY NO: 5K3-30-45---16
  BUTLER COMM COLLEGE                                     TRANSACTION: RENEWAL-01
                                                            PRIOR POL: lKl-43-42

                               TRANSACTION INFORMATION


  POLICY TERM: 07/01/2015 TO 07/01/2016                 TRANS DATE: 07/01/2015
  ACCOUNT NAME: BUTLER COMM COLLEGE                     CO/BR/AGENT: A/L/7265
  ACCOUNT MAILING STATE: KS                             PROGRAM: KS
  FINANCING: Y                                          BILLING METHOD: A
  AUDIT FREQUENCY: N                                    PROFIT SHARE: N
  SIC: 8222
  ACCOUNT ORIGINAL EFF DATE: 09/01/1995                 TYPE OF POLICY: MONOLINE (10)
  ACCOUNT FEIN:
                                                        TRANS PREMIUM:       7843.00

   POLICY ID: BF          COMMISSION:     10.0%         PREMIUM:             7843.00
--------------------------------------------------------------------------------
   ACCOUNT DOMICILE STATE: KS
--------------------------------------------------------------------------------




 DATE OF ISSUE: 07/01/15 BPP
 STAT - LB BPP                 04/15/15           019         L7   5K33045 1601
    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 26 of 51


IEMClnsurance Onnpanies
         Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 27 of 51
                 Case 6:17-cv-01175-EFM Document 111 Filed 03/05/20 Page 1 of 1


AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 United States District Court
                                                                                              KANSAS
- - - - - - - - - - - - - - - - D!STIUCTOF


ROGER MATHEWS,

                                                                           JUDGMENT IN A CIVIL CASE
                                                Plaintiff,
                                     V.
                                                                           CASE NUMBER: 17-1175-EFM

BUTLER COMMUNITY COLLEGE,



                                                Defendant.
 I&! Jury Verdict. This action came before the Court for a trial by jury; The issues have been tried and the jury has rendered
        its verdict.
 ~ Decision by Court. This action came before the Court. The issues have been considered and a decision has been
   rendered.

 IT IS ORDERED AND ADJUDGED

 that Plaintiff recovers from Defendant damages in the amount of Three Hundred Thousand Dollars and 0/100
 ($300,000) plus post-judgment interest at the rate of 1.55% as provided by law.

 IT IS FURTHER ORDERED that pursuant to the M&O filed on March 5, 2020 at Doc. 110, Plaintiff's Motion for
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 IT IS FURTHER ORDERED that pursuant to the M&O filed on March 5, 2020 at Doc. l 10, Plaintiff's Motion for
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 This case is now closed.




 3/5/2020                                                           TIMOTHY M. O'BRIEN

 Date                                                              Clerk


                                                                                       /s Cindy McKee
                                                                   (By) Deputy Clerk
          Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 28 of 51


                                                                                                      LINEBACKER


                        LINEBACKER PUBLIC OFFICIAL'S AND
                  EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
                         COVERAGES A AND B PROVIDE CLAIMS - MADE COVERAGE
                              PLEASE READ THE ENTIRE FORM CAREFULLY

Various prov1s1ons in this policy restrict coverage.            b. A claim will be deemed to have been made at
Read the entire policy carefully to determine rights,               the earliest of the following times:
duties, and what is and is not covered.                             (1) When a claim is received by any insured;
Throughout this policy the words "you" and "your' refer             (2) When a claim is received by us; or
to the Named Insured shown in the Declarations, and
any other person or organization qualifying as a Named              (3) When you become aware of a "wrongful
Insured under this policy. The words "we", "us" and                     act" which may give rise to a claim being
"our" refer to the company providing this insurance.                    made against you. You must give prompt
                                                                        written notice to us of such circumstances
The word "insured" means any person or organization                     no later than:
qualifying as such under Section II - Who is an
Insured.                                                                (a) The end of the policy period; or
Other words and phrases that appear in quotation                        (b) If the Basic Extended Reporting Period
marks have special meaning. Refer to Section VI -                           applies, the end of the Basic Extended
Definitions.                                                                Reporting Period.
SECTION I - COVERAGES                                           c. This insurance does not apply to any claim
                                                                   arising out of any "wrongful act" that occurs
1.   Insuring Agreement Coverage A -             Public            prior to the effective date of this policy or prior
     Officials Liability and      Coverage       B                 to the first policy issued by us that is an
     Employment Practices Liability                                uninterrupted renewal that was either:
     a.    Public Officials Liability                              (1) The subject of any demand, claim or other
           We will pay for "defense expense(s)" and/or                  proceeding which was initiated against the
           those sums that the insured becomes legally                  insured; or
           obligated to pay as "damages" because of a              (2) Based upon facts and circumstances which
           "public official's wrongful act" rendered in                 would cause a reasonable person to
           discharging duties on behalf of the insured                  believe a claim would be made and which
           named in the Declarations.                                   was known to any insured.
     b.    Employment Practices Liability                       d. All "wrongful acts" contained within the same
           We will pay for "defense expense(s)" and/or             claim shall be deemed one "wrongful act" and
           those sums that the insured becomes legally             such related "wrongful acts" shall be deemed to
           obligated to pay as "damages" because of an             occur at the time of the first "wrongful act".
           "employment wrongful act" rendered in           3.   Defense and "Defense Expenses"
           discharging duties on behalf of the insured
           named in the Declarations.                           a. With regard to any claim we defend:
2.   Coverage Activation                                            (1) "Defense expenses" are subject to the
                                                                        deductible, and
     a.    "Damages" are paid excess of the deductible
           stated in the Declarations provided that:                (2) We shall have the right and duty to select
                                                                        counsel.
           (1) The "wrongful act" on which the claim is
               based occurs on or after the "retroactive            (3) Our duty to pay "defense expenses" begins
               date" shown in the Declarations and not                  only after we are notified of a claim. Any
               after the end of the policy period; and                  previous expenses incurred are not
                                                                        covered and will not apply with respect to
           (2) The claim is first made against any past,                your deductible obligations.
               present or future insured:
                                                                    (4) Our obligation to pay further "defense
               (a) During the policy period, or                         expenses" ends after the first judgment has
               (b) If extended reporting period applies,                been entered except for appeals of such
                   during that period.                                  judgment made by the claimant.




CL7001(10-12)                                                                                                  Page 1 of 8
                Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 29 of 51



          (5) We do not have a duty to defend the                       (3) All costs taxed against an insured in the
            insured against any claim, for "damages" or                     claim except for plaintiff/claimant attorney's
            relief or redress in any form, to which this                    fees/expenses.
            insurance does not apply.                                   (4) Pre-judgment interest awarded against the
     b. We will provide defense and pay "damages" of                        insured on that part of the judgment we
        any claim seeking monetary damages that are                         pay. If we make an offer to pay the
        covered by this policy. With regard to these                        applicable limit of insurance, we will not
        claims:                                                             pay any pre-judgment interest based on
          (1) We shall pay "defense expenses" incurred                      that period of time after the offer.
              in the defense of a covered claim, in                     (5) Interest on the covered amount of any
              addition to the applicable limit of liability.                judgment which accrues after a judgment is
          (2) We are not obligated to defend any claim                      entered. Our duty to pay interest ends
              or to pay any "defense expense" after our                     when we pay, offer to pay, or deposit in
              limit of liability has been exhausted by                      court that part of the judgment that is within
              payment of "damages".                                         the applicable limit of insurance.
          (3) We will pay plaintiff/claimant attorney's                 (6) Reasonable expenses an insured incurs at
              fees/expenses, if awarded in satisfaction of                  our request, other than loss of earnings.
              a claim, subject to the policy's limits of                    Such expenses do not include salaries of
              liability. This provision plus any "damages"                  officials or "employees" of the insured.
              will not exceed the Each Loss limit of           5.   Exclusions - Coverage A and Coverage B
              liability shown in the Declarations. You will         Each of the following exclusions is an absolute
              be responsible for the deductible.                    exclusion with no duty to defend or pay "damages"
     c.   We will provide defense of claims to which this           unless otherwise indicated. If both an absolute
          insurance applies that we have a duty to                  exclusion and an exclusion with a duty to defend
          defend which are:                                         apply, coverage for "defense expenses" is excluded
          (1) Not seeking monetary damages or not                   and we have no duty to defend.
            seeking monetary damages other than                     This insurance does not apply to:
            plaintiff/claimant attorney fees/expenses;              a. Abuse or Molestation
        (2) Seeking only injunctive or other non-                       (1) The actual or threatened abuse or
            monetary relief or redress; or                                  molestation by anyone of any person; or
        (3) Seeking monetary "damages" that are not                     (2) The negligent:
            covered by this policy.                                         (a) Hiring;
            (a) "Defense expenses" paid in defense of                       (b) Employment;
                 these claims are within the policy's
                 limits of liability. Our obligation to pay                 (c) Investigation;
                 "defense expenses" ends when the                           (d) Supervision;
                 limit of liability shown in the                            (e} Reporting to the proper authorities, or
                 Declarations has been exhausted by                             failure to report; or
                 the payment of "defense expenses".                         (f) Retention
            (b) We will pay plaintiff/claimant attorney's               of a person for whom any insured is or ever
                 fees/expenses, if awarded in satisfaction              was legally responsible and whose conduct
                 of a claim, subject to the policy's limits             would be excluded by (1) above.
                 of liability.     This provision plus any
                 "defense· expense" will not exceed the                 This exclusion does not apply to the extent
                 Each Loss limit of liability shown in the              coverage is provided under Section I 1.b. -
                 Declarations. You will be responsible                  Employment Practices Liability.
                 for the deductible.                                b. "Bodily Injury", "Property Damage", or
                                                                        "Personal and Advertising Injury"
4.   Supplementary Payments
                                                                        (1) "Bodily injury";
     a. We will pay in addition to our limit of liability
        with respect to any claim we defend:                            (2) "Property damage";
        (1) All expenses we incur.                                      (3) "Personal       and     advertising  injury",
                                                                            applicable to Coverage A only.
        (2) The cost of bonds required of an insured to
                                                                    c. Bonds or Taxes
            release attachments because of the claim,
            but only to the extent the bond amounts are                 (1) Debt financing, including but not limited to
            within the applicable limit of insurance. We                    bonds, notes, debentures, guarantees of
            are not required to apply for or furnish any                    debt; or any facts or representations in the
            bonds.                                                          process of procuring bonds;




CL7001(10-12)                                                                                                   Page2of8
        Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 30 of 51


          (2) Taxes,   including without limitation, the       h.   Failure to Obtain and Maintain Insurance
             formulation of tax rates, assessments, the             The failure to obtain or maintain any insurance,
             collection of taxes and/or the disbursement            bond, or self-insurance fund, or the failure to
             of tax refunds.                                        advise or counsel with respect to procuring,
        We will defend a claim under 5.c., but will have            obtaining or maintaining of any insurance
        no obligation to pay "damages".                             coverage, bond or self-insurance fund.
     d. Contractual Liability                                  i.   Federal, State or Local Laws
        (1) Amounts actually or allegedly due under                 Any actual or alleged violation of the Fair Labor
             the terms of a contract;                               Standards Act (FLSA), Worker Adjustment and
        (2) Failure, refusal, or inability of the insured to        Retraining      Notification     Act     (WARN),
             enter into, renew or perform any contract or           Consolidated Omnibus Budget Reconciliation
             agreement. Exclusion 5.d. (2) applies to               Act of 1985 (COBRA), or the Occupational
             Coverage A only; or                                    Safety and Health Act (OSHA).
        (3) The procurement of goods and/or services,               This exclusion also applies to any rules or
             including, but not limited to construction,            regulations promulgated under any of the
             architect, or engineering, contracts or                foregoing and amendments thereto or any
             agreements.                                            similar provisions of any federal, state or local
        We will defend a claim under Exclusion 5.d.,                law, and to that part of any "damages" awarded
        but will have no obligation to pay "damages".               for the cost or replacement of any insurance
                                                                    benefits due or alleged to be due to any current
     e. Knowingly Wrongful Acts, Illegal Acts, Self-                or former "employee".
        Dealing or Illegal Profit
                                                               j.   Fiduciary Liability
        (1) Any       criminal,    malicious,    fraudulent,
             knowingly wrongful, or dishonest act or                Any obligation or duty imposed by:
             omission. This exclusion shall not apply               (1) The Employee Retirement Income Security
             until it has been established that the                      Act (ER/SA) of 1974, including subsequent
             insured did commit such "wrongful act".                     amendments or similar federal, state or
        (2) Any "wrongful act" based upon or                             local law or regulation; or
             attributable to an insured gaining any                 (2) "Administration" of any "employee benefit
             personal profit or advantage to which an                    program" or self-insurance fund; or
             insured is not legally entitled.
                                                                    (3) Investment activities, including any actual
        (3) The return of any remuneration paid to an                  or alleged violation of any state or federal
             insured if such payment is held to be in                  securities law; or
             violation of the law.
                                                                  (4) Activities in any other fiduciary capacity.
     f. Electromagnetic Fields
        (1) Any cost or expense arising out of,
                                                               k. Law Enforcement Activities
             resulting from, caused or contributed to by,         Any law enforcement activities to protect the
             electromagnetic fields, provided that such           public or property including the operation of
             injury or damage results from or is                  adult or juvenile correctional or detention
             contributed to by the hazardous properties           facilities or programs. This exclusion applies to
             of electromagnetic fields;                           Coverage A only.
        (2) The costs of abatement or mitigation of:           I. Land Use
             (a) Electromagnetic fields; or                       The direct or indirect operation of the principles
             (b) Exposure to electromagnetic fields;              of eminent domain, including but not limited to:
        (3) Any supervision, instructions, recommen-              adverse possession; taking of property; and
             dations, warning or advise given or which            condemnation        or inverse      condemnation
             should have been given in connection with            proceedings.
             paragraphs (1) and (2) above; or                     However, we will defend a claim against the
        (4) Any obligation to share damages with or               insured for exercising its zoning or permitting
             repay someone else who must pay                      duties in a land use regulatory capacity, but we
             damages in connection with paragraphs                will not have any obligation to pay "damages".
             (1), (2) or (3) above.                            m. Lead
     g. Expected or Provided Facilities, Products or              (1) Any cost or expense to abate, mitigate,
        Services                                                       remove or dispose of lead, lead
        Any expense for facilities, products or services               compounds, or materials containing lead;
        normally provided or expected, by anyone, to              (2) The actual, alleged or threatened expense
        be provided by the. insured. We will defend a                  arising out of, resulting from, caused by or
        claim under Exclusion 5.g., but will have no                   contributed to by the toxic or pathological
        obligation to pay "damages".                                   properties of lead, lead compounds or lead
                                                                       contained in any materials;

CL7001 (10-12)                                                                                             Page 3 of 8
                Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 31 of 51



         (3) Any supervision, instructions, recommen-            r.   Infringement of Intellectual Property Rights
                dations, warning or advice given or which             Any actual or alleged infringement of
                should have been given in connection with             trademark, copyright, patent, trade secret or
                paragraphs (1) or (2) above; or                       other intellectual property rights; however, this
         (4) Any obligation to share damages with or                  exclusion does not apply to infringement, in
           repay someone else who must pay                            your "advertisement", of copyright, trade dress
           damages in connection with paragraphs                      or slogan.
           (1), (2) or (3) above.                                s.   Wages, Salaries, Fringe Benefits and/or
    n. National Flood Insurance                                       Employee Benefits
                                                                      Any wages, salaries, fringe benefits or any
       Any insured's:
                                                                      other similar employee benefits, educational
       (1) Failure to comply with;                                    expenses, overtime or similar "damages",
         (2) Attempt to comply with; or                               under any federal, state, or local statutes, rules,
                                                                      ordinances or regulations. We will defend a
         (3) Compliance with
                                                                      claim under Exclusion 5.s., but will have no
       the provisions of the National Flood Insurance                 obligation to pay "damages".
       Act of 1968 as amended or any similar federal,
       state, or local laws.                                6.   Additional Exclusions Regarding Coverage B
                                                                 Only
       However, this exclusion does not apply if the
       insured is a school.                                      This insurance does not apply to:
    o. Pollution                                                 a. Contractual Liability
       (1) Arising out of the actual, alleged or                     Any assumption of liability in a contract or
            threatened discharge, dispersal, release or              agreement. This exclusion does not apply to
            escape of pollutants; or                                 liability for a "wrongful act" that the insured
       (2) Arising out of any governmental direction or              would have in the absence of the contract or
            request that any insured test for, monitor,              agreement.
            clean up, remove, contain, treat, detoxify or        b. Capital Improvements
            neutralize pollutants; or
                                                                     Any cost of complying with physical
       (3) The failure or refusal of an insured to                   modifications to your premises or any changes
            comply with any federal, state, or local law             to your usual operations as mandated by the
            or regulation regarding pollutants.                      Americans with Disabilities Act of 1990
       Pollutants means any solid, liquid, gaseous or                including any amendment thereto, or any
       thermal irritant or contaminant, including                    similar federal, state or local law.
       smoke, vapor, soot, asbestos or any substance                 We will defend a claim under Exclusion 6.b.,
       containing asbestos, fibers, fumes, or any other              but will have no obligation to pay "damages".
       airborne contaminants, acids, alkalis, sound,
       chemicals and waste. Waste includes material              c.   Labor Disputes
       to be recycled, reconditioned or reclaimed.                  Any lockout, strike, picket lines, related worker
    p. "Professional Services"                                      replacement(s) or other similar actions resulting
       Based upon or arising out of the performance                 from labor disputes or labor negotiations or any
       of, or failure to render "professional services",            protections contained within the National Labor
       even if unpaid, rendered by:                                 Relations Act of 1938 (NLRA).
       (1) You;                                                  d. Workers       Compensation,       Disability   or
       (2) One of your "employees"; or                              Unemployment Compensation Laws
       (3) Anyone else for whom you are responsible.                Any obligation or duty imposed by workers
    q. War
                                                                    compensation,       disability     benefits     or
                                                                    unemployment compensation law, or any
       (1) War, including undeclared or civil war;                  similar law; however, this exclusion shall not
       (2) Warlike action by a military force, including            apply to any claim based upon, arising from, or
            action in hindering or defending against an             in consequence of any actual or alleged
            actual or expected attack, by any                       retaliatory treatment of the claimant by the
            government, sovereign or other authority                insured on account of the claimant's exercise of
            using military personnel or other agents; or            rights pursuant to any such law.
       (3) Insurrection, rebellion, revolution, usurped
            power, or action taken by governmental          SECTION II - WHO IS AN INSURED
            authority in hindering or defending against
            any of these.                                   1.   Each of the following is an insured:
                                                                 a. The "organization" named in the Declarations.




CL7001(10-12)                                                                                                  Page4of8
          Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 32 of 51



     b.    The "organization's" past, present, or future       The Limits of Insurance of this Coverage Part apply
           lawfully elected, appointed or employed             separately to each consecutive annual period and to
           officials.                                          any remaining period of less than 12 months, starting
     c. Lawfully     appointed      members       of    the    with the beginning of the policy period shown in the
        commissions, boards, or other units operated           Declarations, unless the policy period is extended after
        under your jurisdiction and within an allocation       issuance for an additional period of less than 12
        of your total operating budget, provided               months. In that case, the additional period will be
        however, that none of the above are insureds           deemed part of the last preceding period for purposes
        with respect to operations involving airports,         of determining the Limits of Insurance.
        transit authorities, hospitals, nursing homes,         SECTION IV - CONDITIONS
        housing authorities, port authorities, gas utilities   1.   Your Duties In The Event Of A Wrongful Act
        or electric utilities unless specifically stated in
        the declarations that boards are covered.                   a. We or our agent must have prompt written
                                                                         notice from you or someone on your behalf of
     d. "Employees", past, present or future of the                      any "wrongful act" that may involve this policy.
        "organization" while acting within the course                    The notice should identify this policy and give
        and scope of their employment while                              us the facts of the "wrongful act" including
        conducting the business of the "organization".                   names and addresses of claimants and
     e. "Volunteers" past, present or future including                   witnesses.
           student teachers while acting within the scope           b.   If you receive a <;:laim, you agree to immediately
           of their duties for the organization.                         furnish us with a copy as well as copies of any
     f.The estates, heirs, legal representatives or                      other papers pertinent to the "wrongful act".
       assigns of deceased persons who were                         c.   You must authorize us to obtain needed
       insureds at the time of the "wrongful act" upon                   records and other information.
       which a claim is based.
                                                                    d.   You further agree to cooperate with us in the
2. Insured shall also include those insureds serving on                  defense of any "wrongful act" likely to involve
   the board of an entity other than the "organization"                  this policy. You shall not, except at your own
   provided that the following conditions are met:                       expense, voluntarily make any payment,
     a. The outside entity is tax exempt;                                assume any obligation, or incur any expense
     b. The appointment of the insured to the outside                    unless we provide written consent to do so.
         entity is based solely upon that person being an           e.   You must assist us, upon our request, in the
         "employee" or lawfully elected or appointed                     enforcement of any right against any person or
         governing board member of the "organization";                   organization which may be liable to you
         and                                                             because of injury or damage to which this
     c. The "organization" directs the insured to serve                  insurance may also apply.
         on the board of the outside entity.                   2.   Transfer Of Right Of Recovery Against Others
3.   Insured does not include any person working on                 To Us
     retainer and/or as an independent contractor.                  If an insured has rights to recover 'all or part of any
SECTION Ill - LIMITS OF INSURANCE                                   payment we have made under this Coverage Form,
                                                                    those rights are transferred to us. The insured
1.   The Limits of Liability shown in the Declarations              must do nothing after loss to impair them. At our
     and the rules below fix the most we will pay                   request, the insured will bring suit or transfer those
     regardless of the number of:                                   rights to us and help enforce them.
     a.Insureds;                                               3.   Action Against Us
     b.Claims made or brought; or                                   No legal action may be brought _against us unless:
   c. Person or organizations making or bringing                    a. You have complied with all the terms of the
       claims.                                                          policy;and
2. The Each Loss limit is the most we will pay for the              b. The amount for which you are legally liable has
   sum of "Damages" arising out of:                                     been determined by court judgment; or
   a. Coverage A, Public Officials Liability and                    c. An agreement has been signed by you, us and
   b. Coverage B, Employment Practices Liability.                       the claimant.
   The aggregate limit is the most we will pay for all         4.   Deductible
   losses arising from all "wrongful acts" to which this            The deductible is the amount shown in the
   insurance applies and for which a claim is first                 Declarations and is the amount for which you are
   made during the policy period.                                   responsible. A single deductible applies to each
                                                                    claim and can be met either by "damages" or




CL7001(10-12)                                                                                                    Page 5 of 8
                Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 33 of 51


     "defense expenses", or a combination of both. The            a. As if each insured were the only insured; and
     deductible does not reduce the applicable liability          b. Separately to each insured against whom a
     limits. We may, or will if required by law, pay part              claim is made.
     of or all of any deductible amount to effect
     settlement of any claim.       Upon notice of our       9. State Law
     payment of a deductible amount, you shall promptly          If this policy conflicts with your state or local laws, it
     reimburse us for the part of the deductible amount          is changed to conform to the laws.
     we paid.                                                10. When We Do Not Renew
5.   Bankruptcy                                                   If We decide not to renew this Coverage Part, we
     If you become bankrupt or insolvent, we will still be        will mail or deliver to the first Named Insured shown
     responsible for our obligations under this policy.           in the Declarations written notice of the nonrenewal
6.   Representations                                              not less than 30 days before the expiration date.
     By accepting this policy, you agree:                       If notice is mailed, proof of mailing will be sufficient
                                                                proof of notice.
     a. The statements in the application are accurate
         and complete;                                       SECTION V - EXTENDED REPORTING PERIODS
     b. Those      statements      are    based  upon        1. We will provide an Extended Reporting Period as
         representations you made to us; and                    described below, if:
     c. We have issued this policy in reliance upon             a. This Coverage Part is canceled or not renewed
         your representations.                                      for any reason except non-payment of the
                                                                     premium; or
7.   Other Insurance
                                                                b. We renew or replace this Coverage Part with
   This insurance is excess over other insurance                     other insurance that:
   whether primary, excess, contingent or on any
   other basis, except for insurance purchased                       (1) Provides        claims-made     coverage    for
   specifically to apply in excess of this insurance.                     "wrongful act" liability; and
   When this insurance is excess, we have no duty to                 (2) Has a "retroactive date" later than the one
   defend the insured against any claim if any other                      shown        in     this   Coverage      Part's
   insurer has a duty to defend the insured against                       Declarations; or
   that claim. When this insurance is excess over                    (3) We replace the Coverage Part with other
   other insurance, we will pay only our share of the                     insurance that applies to "wrongful act"
   amount of loss, if any, that exceeds the sum of:                       liability on other than a claims-made basis.
   a. The total amount that all other insurance would        2. Extended Reporting Periods do not extend the
        pay in the absence of this insurance; and               policy period or change the scope of coverage
   b. The total of all deductible and self-insured              provided. They apply only to claims for "damages"
        amounts under the other insurance.                      due to a "wrongful act" that occurs before the end
   If we share the loss, we will do so by equal share           of the policy period but not before the "retroactive
   contribution if allowed by the other insurance.              date", if any, shown in the Declarations.
   Under this approach, each insurer contributes                Once in effect, Extended Reporting Periods may
   equal amounts until it has paid its applicable limit of      not be canceled.
   insurance or none of the loss remains, whichever          3. There are two Extended Reporting Period options
   comes first.                                                 available described below:
   If equal share contribution is not permitted, we will        a. A Basic Extended Reporting Period is
   contribute by the ratio our limit bears to the total              automatically provided without additional
   applicable limits of all insurance.         Under this            charge. This period starts with the end of the
   method, each insurer's share is based on the ratio                policy period and lasts for 60 days with respect
   of its applicable limit of insurance to the total                 to claims arising from "wrongful acts" not
   applicable limits of insurance of all insurers.                   previously reported to us.
   Other insurance includes, but is not limited to,                  The Basic Extended Reporting Period does not
   coverage or benefits provided by self-insurance
                                                                     apply to claims that are covered under any
   arrangements, pools, self-insurance trusts, captive               subsequent insurance you purchase, or that
   insurance companies, retention groups, reciprocal                 would be covered but for exhaustion of the
   exchanges, or any other plan or agreement of risk                 amount of insurance applicable to such claims.
   transfer or assumption.
                                                                     The Basic Extended Reporting Period does not
8. Severability                                                      reinstate or increase the Limit of Liability.
   Except with respect to the limits of insurance, and          b. A Supplemental Extended Reporting Period
   any rights or duties specifically assigned to the first           Endorsement is available, for an additional
   Named Insured, this insurance applies:                            premium charge. The Supplemental Extended
                                                                     Reporting Period will be as set forth in either (1)
                                                                     or (2) below:


CL7001(10-12)                                                                                                    Page 6 of8
       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 34 of 51


         (1) Twelve months starting when the Basic           SECTION VI - DEFINITIONS
             Extended Reporting Period, set forth in
                                                             1.   "Administration" means:
             Paragraph 3. above ends; or
         (2) Sixty months starting when the Basic                 a. Giving counsel to "employees" with respect to
             Extended Reporting Period, set forth in                   "employee benefit programs";
             Paragraph 3. above ends.                             b. Interpreting "employee benefit programs";
             (a) You must give us a written request for           c. Handling of records in connection with
                 the endorsement within 60 days after                  "employee benefit programs"; and
                 the end of the policy period. The
                                                                  d. Effecting e'nrollment of "employees" under
                 Supplemental Extended Reporting
                                                                       "employee benefit programs".
                 Period will not go into effect unless you
                 pay the additional premium promptly         2.   "Advertisement" means a notice that is broadcast
                 when due.                                        or published to the general public or specific market
                 We will determine the additional                 segments about your goods, products or services
                 premium in accordance with our rules             for the purpose of attracting customers or
                 and rates. In doing so, we may take              supporters. For the purposes of this definition:
                 into account the following:                      a. Notices that are broadcast or published include
                 i) The exposures insured;                             material placed on the Internet or on similar
                                                                       electronic means of communication; and
                 ii) Previous types and amounts of
                      insurance;                                  b. Regarding websites, only that part of a website
                 iii) Limits of Insurance available under              that is about your goods, products or services
                      this Coverage Part for future                    for the purposes of attracting customers or
                      payment of damages; and                          supporters is considered an advertisement.
                 iv) Other related factors.                  3.   "Bodily injury" means "bodily injury", sickness or
             (b) The additional premium will be:
                                                                  disease sustained by a person, including death
                                                                  resulting from any of these at any time.
                 i) Ninety percent (90%) of the annual
                      premium for this Coverage Part              "Bodily injury" does not include mental anguish that
                      when the twelve month option is             results from an "employment wrongful act".
                      chosen; or                             4.   "Damages" means those amounts that the insured
                 ii) Two hundred percent (200%) of                becomes legally obligated to pay for claims arising
                      the annual premium for this                 out of a "wrongful act" to which this insurance
                      Coverage Part when the sixty                applies.
                      mo_nth option is chosen.                    "Damages" does not include:
                 This endorsement shall set forth the             a. Fines or penalties imposed by law;
                 terms, not inconsistent with this
                                                                  b. Salaries of your "employees" and office
                 Section,       applicable      to     the
                 Supplemental Extended           Reporting             expenses incurred by you; or
                 Period.                                          c. Judgments, or awards arising out of matters
             (c) If     the    Supplemental      Extended              which may be deemed uninsurable under the
                                                                       law pursuant to which this policy shall be
                 Reporting Period is in effect, we will
                                                                       construed.
                 provide the Supplemental Aggregate
                 Limit of Insurance, as indicated in the     5.   "Defense expenses" are sums payable to others
                 Supplemental Extended Reporting                  for    investigation,    litigation, negotiation,  or
                 Period Endorsement, but only for                 settlement of any claim which we deem expedient.
                 claims first received and recorded               "Defense expenses" do not include our own internal
                 during the Supplemental Extended                 company claim adjustment expenses, or any
                 Reporting Period. For those claims               plaintiff/claimant attorney's fee/expenses.
                 first received during the Supplemental      6.   "Employee" means an individual whose labor or
                 Extended Reporting Period, coverage              service is engaged by and directed by the insured
                 is excess over any other valid and               or a member of the "organization." This includes
                 collectible insurance available under            part-time, seasonal and temporary employees as
                 policies in force after the Supplemental         well as any individual employed in a supervisory or
                 Extended Reporting Period starts.                managerial position. But "employee" does not
                                                                  include an independent contractor or any
                                                                  "employees" of any independent contractor, "leased
                                                                  worker", or "temporary worker''.




CL7001(10-12)                                                                                                Page7of8
                Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 35 of 51


7.   "Employee benefit programs" means:                           b.   Loss of use of tangible property that is not
     a. Group life insurance, group accident or health                 physically injured.
       insurance, investment plans or savings plans,          13. "Retroactive date" means the date specified in the
       profit sharing plans, pension plans and stock              Declarations. Those "wrongful acts" that occur
       subscription plans, provided that no one other             prior to the "retroactive date" are not covered by
       than an "employee" of the insured may                      this policy.
       subscribe to such insurance or plans; and              14. "Temporary worker" means a person who is
   b. Unemployment insurance, social security                     furnished to you to substitute for a permanent
       benefits, worker's compensation and disability             "employee" on leave or to meet seasonal or short-
       benefits.                                                  term workload conditions.
8. "Leased worker" means a person teased to you               15. "Volunteer" means any person whose services
   by a tabor teasing firm under an agreement                     are uncompensated and whose activities are
   between you and the tabor teasing firm, to perform             directed and supervised by, and for the benefit of
   duties related to the conduct of your business.                the "organization".
   "Leased worker" does not include a "temporary              16. "Wrongful act" includes any of the following:
   worker".
                                                                 a.  "Employment wrongful act" means any of
9.   "Organization" means the entity named in the                    the following actual or alleged practices
     Declarations as the Named Insured.                              directed against any of your "employees",
10. "Personal and advertising injury" means injury,                  "leased workers", "temporary workers", former
    other than "bodily injury", arising out of one or more           "employees", or any applicant for employment
    of the following offenses:                                       with you and for which remedy is sought under
     a. False arrest, detention or imprisonment;                     any federal, state or local statutory or common
                                                                     civil employment law:
     b. Malicious prosecution;                                       (1) Wrongful refusal to employ an applicant for
     c. Wrongful eviction from, wrongful entry into, or                    employment;
        invasion of the right of private occupancy of a              (2) Wrongful failure to promote an "employee",
        room, dwelling, or premises that a person                          wrongful deprivation of career opportunity;
        occupies, committed by or on behalf of its                         or wrongful failure to grant tenure;
        owner, landlord or lessor;
                                                                     (3) Wrongful: demotion, retaliation, evaluation,
     d. Oral or written publication, in any manner, of                     supervision, reassignment, or discipline;
        material that slanders or libels a person or
        organization or disparages a person's or                     (4) Wrongful termination of employment,
        organization's goods, products or services;                        including     retaliatory   or    constructive
                                                                           discharge;
     e. Oral or written publication, in any manner, of
        material that violates a person's right of privacy;          (5) Employment related misrepresentation;
     f. The use of another's advertising idea in your                (6) Sexual        harassment        or    workplace
        "advertisement"; or                                                harassment;
    g. Infringing upon another's copyright, trade dress              (7) Any        employment       related    coercion
        or slogan in your "advertisement".                                 discrimination, or humiliation, as a
                                                                           consequence of race, color, creed, national
11. "Professional services" means anyone employed                          origin, marital status, medical condition,
    or serving in any of the following professions while                   gender, age, physical and or mental
    performing their duties as such:                                       impairments, pregnancy, sexual orientation
    a. The practice of medicine, including, but not                        or preference or other status that is
        limited to, physician, surgeon, osteopath,                         protected pursuant to any applicable
        chiropractor,      anesthesiologist,      dentist,                federal, state, or local employment
        psychiatrist, psychologist, nurse, or pharmacist;                  ordinance or statute; or
        and                                                          (8) Employment-related libel, stander, defamation,
     b. The practice of law, including but not limited to,                 or invasion of privacy.
          the judiciary.                                          b. "Public official's wrongful act" shall mean
     "Professional services" shall not include a response            any of the following:
     to an official call to duty for emergency services by           (1) Actual or alleged errors;
     an "organization's" fire, ambulance or rescue
     facility.                                                       (2) Misstatement or misleading statement;
12. "Property damage" means:                                         (3) Act, omission, neglect, or breach of duty by
                                                                           an insured
    a. Physical injury to tangible property, including all
       resulting loss of use of that property; and                   in the discharge of "organizational" duties.
                                                                     "Public Officials Wrongful Act(s)" does not
                                                                     include an "employment wrongful act".


CL7001(10-12)                                                                                                  Page 8 of8
       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 36 of 51


                                                                                                       LINEBACKER

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

     LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

1. The insurance does not apply:                               "Nuclear material" means "source material",
   A. To "loss":                                               "Special nuclear material" or "by-product material";
         (1) With respect to which an insured under the        "Source material", "special nuclear material", and
               policy is also an insured under a nuclear       "by-product material" have the meanings given
               energy liability policy issued by Nuclear       them in the Atomic Energy Act of 1954 or in any
               Energy Liability Insurance Association,         law amendatory thereof;
               Mutual Atomic Energy Liability Underwriters,    "Spent fuel" means any fuel element or fuel
               Nuclear Insurance Association of Canada or      component, solid or liquid, which has been used or
               any of their successors, or would be an         exposed to radiation in a "nuclear reactor";
               insured under any such policy but for its       "Waste" means any waste material (a) containing
               termination upon exhaustion of its limit of     "by-product material" other than the tailings or
               liability; or                                   wastes produced by the extraction or concentration
         (2) Resulting from the "hazardous properties"         of uranium or thorium from any ore processed
             of "nuclear material" and with respect to         primarily for its "source material" content, and (b)
             which (a) any person or organization is           resulting from the operation by any person or
             required to maintain financial protection         organization of any "nuclear facility" included under
             pursuant to the Atomic Energy Act of 1954,        the two paragraphs of the definition of "nuclear
             or any law amendatory thereof, or (b) the         facility".
             insured is, or had this policy not been           "Nuclear facility" means:
             issued would be, entitled to indemnity from
             the United States of America, or any              {a) Any "nuclear reactor";
             agency thereof, under any agreement               {b) Any equipment or device designed or used for
             entered into by the United States of                    (1) separating the isotopes of uranium or
             America, or any agency thereof, with any                plutonium; (2) processing or utilizing "spent
             person or organization.                                fuel", or (3) handling, processing or packaging
   B. To "loss" resulting from the "hazardous                        "waste";
       properties" of "nuclear material", if:                  {c) Any    equipment or device used for the
       (1) The "nuclear material" (a) is at any "nuclear           processing, fabricating or alloying of "special
           facility" owned by, or operated by or on                nuclear material" if at any time the total amount
           behalf of, an insured or (b) has been                   of such material in the custody of the insured at
           discharged or dispersed therefrom;                      the premises where such equipment or device
                                                                   is located consists of or contains more than 25
       (2) The "nuclear material" is contained in                  grams of plutonium or uranium 233 or any
           "spent fuel" or "waste" at any time                     combination thereof, or more than 250 grams of
           possessed, handled, used, processed,                    uranium 235;
           stored, transported or disposed of by or on
           behalf of an insured; or                            (d) Any structure, basin, excavation, premises or
                                                                   place prepared or used for the storage or
       (3) The "loss" arises out of the furnishing by an           disposal of "waste";
           insured of services, materials, parts or
           equipment in connection with the planning,              and includes the site on which any of the
           construction, maintenance, operation or                 foregoing is located, all operations conducted
           use of any "nuclear facility", but if such              on such site and all premises used for such
           facility is located within the United States of         operations;
           America, its territories or possessions or              "Nuclear reactor'' means any apparatus
           Canada, this exclusion (3) applies only to              designed or used to sustain nuclear fission in a
           "loss" to such "nuclear facility" and any               self-supporting chain reaction or to contain a
           property thereat.                                        critical mass of fissionable material;
2. As used in this endorsement:                                     "Loss" includes all forms         of     radioactive
   "Hazardous properties" include radioactive, toxic or             contamination of property.
   explosive properties;


CL7110(1-08)                                                                                                   Page 1 of 1
       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 37 of 51


                                                                                                        LINEBACKER

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               DATA PROCESSORS ERRORS AND OMISSIONS EXCLUSION
This endorsement modifies insurance provided under the following:

    LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

The following exclusion is added to Paragraph 5. Exclusions - Coverage A and Coverage B of Section I -
Coverages:
This insurance does not apply to any liability arising out of any "wrongful act", error or omission with respect to data
processing services rendered by, or that should have been rendered by:
1. The insured; or
2. Any person or organization:
   a. For whose acts, errors or omissions the insured is legally responsible; or
   b. From whom the insured assumed liability by reason of a contract or agreement.




CL7116(1-08)                                                                                                    Page 1 of 1
       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 38 of 51


                                                                                                         LINEBACKER

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   TORT LIABILITY ENDORSEMENT

This endorsement modifies insurance provided under the following:

    LINEBACKER PUBLIC OFFICIAL AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

This policy does not apply to any claim against an Insured for which the Insured
(1) is immune from liability by the provisions of any statute or where the action based upon such claim has been
    barred or abated by operation of statute or rule of civil procedure or
(2) is not immune from such liability described in (1) above but is immune from further liability above any specific
    statutory limits cap on the maximum liability of the insured. However, this Item (2) does not apply to the extent (if
    any) this policy provides coverage up to the maximum statutory liability limits cap.
The Company will defend a claim under this endorsement, but will have no obligation to pay "damages."




CL7128(10-12)                                                                                                   Page 1 of 1
          Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 39 of 51


                                                                                                      LINEBACKER

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

     LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

A. The following exclusion is added to Section I -                   2. Any loss, cost or expenses arising out of
   Coverage, Paragraph 5. Exclusions - Coverage                          the abating, testing for, monitoring,
   A and Coverage 8.                                                     cleaning up,       removing,    containing,
     5.    Exclusion - Coverage A and Coverage B                         treating,     detoxifying,     neutralizing,
                                                                         remediating or disposing of, or in any way
           This insurance does not apply to:                             responding to, or assessing the effects of,
           Fungi or Bacteria                                             "fungi" or bacteria, by any insured or by
           1. Any liability, "defense expenses", or other                any other person or entity.
               cost that would not have occurred, in                 This exclusion does not apply to any "fungi" or
               whole or in part, but for the actual, alleged         bacteria that are, are on, or are contained in,
               or threatened inhalation of, ingestion of,            a good or product intended for consumption.
               contact with, exposure to, existence of, or     B. The following definition is added to the
               presence of, any "fungi" or bacteria on or         DEFINITIONS SECTION of the coverage form.
               within a building or structure, including its
               contents, regardless of whether any other          "Fungi" means any type or form of fungus,
               cause, event, material or product                  including mold or mildew and any mycotoxins,
               contributed concurrently or in any                 spores, scents or byproducts produced or
               sequence to such injury or damage.                 released by fungi.




CL7153(10-12)                                                                                               Page 1 of 1
       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 40 of 51


                                                                                                             LINEBACKER

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

    LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

If aggregate insured losses attributable to terrorist acts certified under the federal Terrorism Risk Insurance Act
exceed $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk Insurance
Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
established by the Secretary of the Treasury.
"Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance with
provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act. The criteria
contained in the Terrorism Risk Insurance Act for a "certified act of terrorism" includes the following:
1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
    subject to the Terrorism Risk Insurance Act; and
2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by
    an individual or individuals as part of an effort to coerce the civilian population of the United States or to influence
    the policy or affect the conduct of the United States Government by coercion.




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         Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 41 of 51


                                                                                                              LINEBACKER

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             EXCLUSION OF PUNITIVE DAMAGES
                         RELATED TO A CERTIFIED ACT OF TERRORISM
This endorsement modifies insurance provided under the following:

    LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

A. The following exclusion is added:
   This insurance does not apply to:
   TERRORISM PUNITIVE DAMAGES
    "Damages" arising, directly or indirectly, out of a "certified act of terrorism" that are awarded as punitive
    damages.
B. The following definition is added:
    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
    Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
    Terrorism Risk Insurance Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act of
    terrorism" includes the following:
    1.    The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
          insurance subject to the Terrorism Risk Insurance Act; and
    2.    The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
          by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
          influence the policy or affect the conduct of the United States Government by coercion.




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       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 42 of 51


                                                                                                       LINEBACKER


                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      EXTENDED REPORTING PERIOD
                                      AMENDATORYENDORSEMENT
This endorsement modifies the insurance provided under the following:

    LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

Paragraph 3.b. of SECTION V - Extended Reporting                   b. The additional premium will be:
Periods is replaced with the following:                                 (1) Ninety percent (90%) of the annual
A. Supplemental        Extended        Reporting       Period                premium for this Coverage Part when
    Endorsement is available, for an additional premium                     the twelve month option is chosen; or
    charge. The Supplemental Extended Reporting                         (2) Two hundred percent (200%) of the
    Period will be as set forth in either 1. or 2. below:                    annual premium for this Coverage Part
    1. Twelve months starting when the Basic                                 when the unlimited duration option is
        Extended Reporting Period, set forth in                              chosen.
        Paragraph 3. above ends; or                                          This endorsement shall set forth the
    2. An unlimited duration starting when the Basic                         terms, not inconsistent with this Section,
       Extended Reporting Period, set forth in                               applicable    to    the     Supplemental
       Paragraph 3. above ends.                                              Extended Reporting Period.
       a. You must give us a written request for the               c.   If the Supplemental Extended Reporting
           endorsement within 60 days after the end                     Period is in effect, we will provide the
           of the policy period. The Supplemental                       Supplemental        Aggregate       Limit     of
           Extended Reporting Period will not go into                   Insurance,      as     indicated      in    the
           effect unless you pay the additional                         Supplemental Extended Reporting Period
           premium promptly when due.                                   Endorsement, but only for claims first
           We will determine the additional premium                     received     and     recorded     during the
           in accordance with our rules and rates. In                   Supplemental Extended Reporting Period.
           doing so, we may take into account the                       For those claims first received during the
           following:                                                   Supplemental Extended Reporting Period,
                                                                        coverage is excess over any other valid
           (1) The exposures insured;                                   and collectible insurance available under
                (2) Previous types      and   amounts     of            policies in force after the Supplemental
                    insurance;                                          Extended Reporting Period starts.
                (3) Limits of Insurance available under this
                    Coverage Part for future payment of
                    damages; and
                (4) Other related factors.




CL7176(10-12)                                                                                                Page 1 of 1
          Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 43 of 51



                                                                                                                     LINEBACKER

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   DAT A COMPROMISE EXCLUSION
This endorsement modifies insurance provided under the following:

     LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

A. The following exclusion is added to Paragraph 5.                    B. The    following definitions are added to the
     Exclusions - Coverage A and Coverage B of                              DEFINITIONS SECTION of the coverage form.
     SECTION I - COVERAGES
                                                                            "Computer malware" means malicious code that is
     Data Compromise Liability                                              introduced through your website or "communications
     (1) Any actual or alleged "damages" arising out of                     network".
         a "network and information security wrongful                       "Communications network" means any computer
         act".                                                              or communications network you own, operate, rent,
     (2) Any "wrongful act" arising out of any failure to                   lease, license or borrow from others.
         provide    access to       your website,      or                   "Network and information security wrongful act"
         "communications network" that was expected                         means:
         or intended by an insured.
                                                                            a. failure to prevent the transmission of "computer
     (3) Any "wrongful act" arising out of an internet                           malware";
         service interruption or failure.
                                                                            b. failure to provide any authorized user of your
     Government Demands or Proceedings                                           website or "communications network" access to
     Any demand made or proceeding brought by:                                   such a website or "communications network";
     a. the Federal Trade Commission;                                       c. failure to prevent unauthorized access to, or
                                                                                 use of, electronic data containing "personally
     b. the Federal Communications Commission; or                                identifying information" of others.
     c.   any other federal, state, local government                        "Personally Identifying Information" means
          agency or entity;                                                 information that could be used to commit fraud or
     arising out of any "wrongful act" of any Insured.                      other illegal activity involving the credit or identity of
                                                                            an individual. This includes, but is not limited to,
                                                                            Social Security numbers or account numbers
                                                                            correlated with names and addresses.
                                                                            "Personally identifying information" does not mean
                                                                            or include information that is otherwise available to
                                                                            the public, such as names and addresses with no
                                                                            correlated Social Security numbers or account
                                                                            numbers




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         Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 44 of 51


                                                                                                           LINEBACKER


                                    IMPORTANT CHANGES IN YOUR COVERAGE

                               ADVISORY NOTICE TO POLICYHOLDERS

This is a summary of the major changes in your Linebacker Coverage Form. This notice does not reference every
editorial change made in the coverage form. No coverage is provided by this summary nor can it be construed to
replace any provisions of your policy or endorsements. You should read your policy and review your declaration
page for complete information on the coverages you are provided. If there is any conflict between the policy and this
summary, THE PROVISIONS OF THE POLICY SHALL PREVAIL.
Some of the language of the new policy has been restated and repunctuated for clarity and readability but with no
change in coverage intent.
The major areas within the policy that broaden, reduce or clarify coverage are highlighted below. The material is
organized by individual coverage forms and endorsements; however, not all coverage forms or endorsements are
included in a particular policy.

         LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

I.   CLARIFICATION OR PROCEDURAL CHANGE
     •    Deleted endorsement statement from the heading of the coverage form.
     •    Added defense expense language into paragraph 1.a. and b. of SECTION I COVERAGES to clarify intent to
          pay defense expense.
     •    Amended name of paragraph 2. of SECTION I COVERAGES to Coverage Activation to clarify it contains
          key coverage provisions of the coverage form.
     •    Revised and combined paragraphs 3. and 4. of SECTION I COVERAGES into paragraph 3. Defense and
          Defense Expenses to eliminate duplication and clarify key defense provisions of the policy.
          o     Paragraph 3.a. addresses provisions applicable to any claim we defend.
          o     Paragraph 3.b. addresses provisions applicable to claims which we have an obligation to pay defense
                and damages.
          o     Paragraph 3.c. addresses provisions applicable to claims which we have only an obligation to defend.
          o     Paragraphs 3.b.(3) and 3.c.(b) were moved from Supplementary Payments paragraph b. and c.
     •    Supplementary Payments provisions was moved from paragraph 7., to paragraph 4., closer to defense
          provisions of the policy to which they apply.
          o Revised paragraph 2. clarifying coverage applies for the cost of bonds and within the limit of insurance.
          o     Revised paragraph 5. is amended to clarify interest only applies to that part of a covered claim within the
                limit of insurance of the policy.
     •    An opening paragraph was added to SECTION I, paragraph 5. Exclusions - Coverage A and Coverage B
          clarifying coverage intent in the event more than one exclusions applies to the same claim.
     •    Exclusionary language "any wrongful act arising out of' was deleted from exclusions 5.a., b., c., d., e., f., h.,
          j., I., m., n., o., p., q., r., and 6.a., c. and d.
     •    Exclusion a. Abuse or Molestation was revised deleting the "in the care custody or control" of the insured
          language to clarify the exclusion applies to any abuse or molestation.
     •    Exclusion a. Abuse or Molestation was revised adding a statement to clarify the exclusion does not apply to
          the extent coverage is provided by employment practices liability under the policy.
     •    Exclusion c. Bonds or Taxes was revised to move "construction contracts" to exclusion d. and clarify the
          exclusion for any bond or taxation activities.
     •    Exclusion d. Contractual Liability was revised adding construction contract exclusion language.
     •    Exclusion e. Knowingly Wrongful Acts, Illegal Acts, Self Dealing or Illegal Profit was revised replacing
          Criminal Acts language with Knowingly Wrongful Acts, the same intent applies.
     •    Exclusion e. paragraph (1) is revised deleting the "in fact" language clarifying the wrongful act must only be
          established to apply the exclusion.



CL8317(10-12)                                                                                                     Page 1 of3
             Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 45 of 51


    •    Exclusion e. paragraph (3) is revised deleting the "by the courts" language clarifying the payment only has to
         be held to be in violation of the law.
    •    Exclusion i. Federal, State or Local Laws was moved from paragraph 6. Additional Exclusions
         Regarding Coverage B Only to clarify any violation of federal state or local laws is excluded.
    •    Exclusion j. Fiduciary Liability is revised adding language to clarify any investment activities or violation of
         state or federal securities laws are excluded.
    •    Exclusion k. Law Enforcement Activities is revised to clarify no coverage applies to the operation of any
         adult or juvenile correctional or detention facilities or programs.
    •    Exclusion t. Wages, Salaries, Fringe Benefits and/or Employee Benefits was moved from paragraph 6.
         Additional Exclusions Regarding Coverage B Only to clarify this exclusion also applies to public officials
         wrongful acts.
    •    Exclusion 6.d. Workers Compensation, Disability, or Unemployment Compensation Laws revised to
         clarify any duty or obligation is excluded.
    •    A paragraph is added to SECTION Ill LIMITS OF INSURANCE paragraph 2. to clarify the aggregate limits
         provisions of the policy.
    •    Paragraph 8. Severability of SECTION IV CONDITIONS is revised to include the provisions of CL7184
         Severability Amendment. This form will be withdrawn from all states.
    •    SECTION V EXTENDED REPORTING PERIODS is revised to clarify the provisions of the policy relating to
         extended reporting periods. No changes to the policy apply.
         o      Paragraph 3.a. provides details of the Basic Extended Reporting Period.
         o      Paragraph 3.b. provides details of Supplemental Extended Reporting Period.
    •    Definition 4. Damages of SECTION VI DEFINITIONS is revised as follows:
         o      Paragraph a. clarifies damages does not apply to fines or penalties imposed by law.
         o      Paragraph c. is added to clarify the policy is not intended to provide coverage for judgments or awards,
                including punitive, exemplary or multiple awards if they are uninsurable under applicable state law.
    •    Definition 6. Employee is revised with regard to independent contractors lo clarify employees of independent
         contractors are not considered an employee of the insured.
    •    Definition 16. Wrongful Act is revised as follows:
         o      Paragraph a.(2) added "wrongful failure to grant tenure.
         o      Paragraph a.(3) deleted "negligent" with regard to "wrongful retaliation and supervision.
         o      Paragraph a.(6) is added specifically identifying sexual harassment or workplace harassment as covered
                events.
         o      Paragraph a.(7), previously (6), is revised clarifying by addition of a statement indicating coverage for
                any protected status pursuant to any federal state or local employment law.
         o      Paragraph a.(8) was revised to clarify coverage intent to cover employment related libel, slander,
                defamation or invasion of privacy.
         o      Paragraph b. Public Officials Wrongful Act is revised adding a statement to clarify public officials
                wrongful acts does not include an employment wrongful act.


    ENDORSEMENTS
    I.   CLARIFICATION OR PROCEDURAL CHANGE
         •      CL7000A Linebacker Automated Declaration - Revised to allow for application of claims made and occurrence
                linebacker policies, revised "each wrongful act" to "each claim", and deleted personal injury reference.
         •      CL7000.1A Linebacker Automated Declaration - Revised to "each wrongful act" to "each claim", and
                deleted personal injury reference.
         •      CL7114 Limited Public Officials Errors and Omissions for Professionals - Revised title of endorsement to
                clarify coverage intent, and amended reference to exclusion to match the coverage form.
         •      CL7119.1 Limited Errors and Omissions for School Professionals - Revised title of the form to clarify
                coverage intent, and amended the exclusion reference to match the coverage form.
         •      CL7128 Tort Liability Endorsement - Revising to delete quotations around claim. Claim is no longer a
                defined term.
         •      CL7130.1 Loss of Salary or Fringe Benefits Endorsement - Revising form to match revised coverage
                form, and clarify what is not included as damages.

CL8317(10-12)                                                                                                   Page 2 of 3
          Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 46 of 51



           •    CL7149 Health Care Extension - Revised reference to exclusion to match coverage form and reference
                to specific definition section.
           •    CL7153 Fungi or Bacteria Exclusion - Revised reference to specific definition section
           •    CL7173 Supplemental Extended Reporting Period Endorsement - Added language to clarify aggregate
                limit provisions
           •    CL7173.1 Supplemental Extended Reporting Period Endorsement - Montana - Added language to
                clarify aggregate limit provisions
           •    CL7176.2 Extended Reporting Period - Virginia - Added language to clarify aggregate limit provisions
                and correct paragraph 5 adding "ends".
           •    CL7177 Illinois Changes Endorsement - Revised definition matching revisions in the coverage form.
           •    CL7179 Linebacker Amendment - Land Use Endorsement - Revised definition of "land use" matching
                revisions in the coverage form, and amended reference to the definitions section.
           •    CL7179.1 Linebacker Amendment - Michigan Land Use Endorsement - Revised definition of land use;
                coverages and definitions matching revisions in the coverage form.
           •    CL7181 Limited Law Enforcement - Corrected reference to definition to match revised coverage form.
           •    CL7202 Data Compromise Exclusion -Amended reference to definition section.
           •    CL7203 Punitive and Exemplary Damages - Corrected reference to the definitions section and corrected
                the definition of "damages"


II.   OBSOLETE FORMS
      •    CL7184 Severability Amendment- withdrawn in all states.




CL8317(10-12)                                                                                                Page 3 of 3
          Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 47 of 51


                                                                                                              COMMERCIAL INTERLINE


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                KANSAS CHANGES-CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

     LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT RELATED PRACTICES LIABILITY COVERAGE FORM
     LAW ENFORCEMENT LIABILITY COVERAGE FORM
     DATA COMPROMISE COVERAGE FORM
     IDENTITY RECOVERY COVERAGE FORM

A. Paragraph 2. of the Cancellation Common Policy                                       (4) Unfavorable    underwriting   factors,
   Conditions is replaced by the following:                                              specific to you, exist that were not
     2.    Cancellation                                                                  present at the inception of the policy;
           a. We may cancel this policy by mailing to the                            (5) A determination by the insurance
               first Named Insured written notice of                                     commissioner that continuation of
               cancellation, stating the reasons for                                     coverage could place us in a
               cancellation, at least:                                                   hazardous financial condition or in
                                                                                         violation of the laws of Kansas; or
               (1) 1O days before the effective date of
                   cancellation  if  we    cancel             for                    (6) A determination by the insurance
                   nonpayment of premium, or                                             commissioner that we no longer have
                                                                                         adequate reinsurance to meet our
               (2) 30 days before the effective date of                                  needs.
                   cancellation if we cancel for any other
                   reason                                               The following is added and supersedes any provision to
                                                                        the contrary:
           b. If this policy has been in effect for 90 days
              or more, or if this is a renewal of a policy              NON RENEWAL
              we issued, we may cancel this policy only                      1. If we decide not to renew this policy, we will
              for one or more of the following reasons:                         mail or deliver written notice of nonrenewal,
              (1) Nonpayment of premium;                                        stating the reasons for nonrenewal, to the first
                                                                                Named Insured at least 60 days prior to the
              (2) This policy was issued because of                             expiration of the policy.
                   material misrepresentation;
                                                                             2. Any notice of nonrenewal will be mailed or
              (3) You or any other insured violated any                         delivered to the first Named lnsured's last
                    of the material terms and conditions of                     mailing address known to us. If notice is
                   this policy;                                                 mailed, proof of mailing will be sufficient proof
                                                                                of notice.




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       Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 48 of 51


                                                                                                           INTERLINE

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       EXCLUSION - MIXED DUST PNEUMOCONIOSIS,
                              LUNG DISEASE OR AILMENT
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS COVERAGE FORM
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
    COMMERCIAL UMBRELLA COVERAGE FORM
    LAW ENFORCEMENT LIABILITY COVERAGE FORM

This insurance does not apply to:
Any injury, damage, expense, cost, loss, liability, defense or legal obligation arising out of, resulting from or in any
way related to, in whole or in part, mixed dust pneumoconiosis or any lung disease, including but not limited to,
pleural plaques, asbestosis, silicosis, lung cancer, emphysema, bronchitis, or other pneumoconiosis-related ailment,
including, but not limited to, arthritis, cancer, lupus, heart, kidney or gallbladder disease.




IL7137.1(1-08)                                                                                                  Page 1 of 1
          Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 49 of 51


                                                                                                               COMMERCIAL INTERLINE

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to                D. Inspections and Surveys
the following conditions.                                                      1.   We have the right to:
A. Cancellation                                                                     a. Make inspections and surveys at any time
   1. The first Named Insured shown in the                                          b. Give you reports on the conditions we find;
      Declarations may cancel this policy by mailing                                     and
      or delivering to us advance written notice of
      cancellation.                                                                 c.   Recommend changes.
   2. We may cancel this policy by mailing or                                 2. We are not obligated to make any inspections,
      delivering to the first Named Insured written                                 surveys, reports or recommendations and any
      notice of cancellation at least:                                              such actions we do undertake relate only to
                                                                                    insurability and the premiums to be charged.
      a. 10 days before the effective date of                                       We do not make safety inspections. We do not
           cancellation if we cancel for nonpayment of                              undertake to perform the duty of any person or
           premium; or                                                              organization to provide for the health or safety
      b. 30 days before the effective date of                                       of workers or the public. And we do not warrant
           cancellation if we cancel for any other rea-                             that conditions:
           son.                                                                     a. Are safe or healthful; or
     3.    We will mail or deliver our notice to the first                          b.   Comply with laws, regulations, codes or
           Named lnsured's last mailing address known to                                 standards.
           us.
                                                                              3.    Paragraphs 1. and 2. of this condition apply not
     4.    Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
           date of cancellation. The policy period will end                         service or similar organization which makes
           on that date.                                                            insurance inspections, surveys, reports or
     5.    If this policy is cancelled, we will send the first                      recommendations.
           Named Insured any premium refund due. If we                        4. Paragraph 2. of this condition does not apply to
           cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recom-
           Named Insured cancels, the refund may be                                 mendations we may make relative to
           less than pro rata. The cancellation will be                             certification, under state or municipal statutes,
           effective even if we have not made or offered a                          ordinances or regulations, of boilers, pressure
           refund.                                                                  vessels or elevators.
     6.
      If notice is mailed, proof of mailing will be                      E. Premiums
      sufficient proof of notice.
                                                                            The first Named Insured shown in the Declarations:
B. Changes
                                                                              1.    Is responsible for the payment of all premiums;
     This policy contains all the agreements between                                and
     you and us concerning the insurance afforded. The
     first Named Insured shown in the Declarations is                          2. Will be the payee for any return premiums we
     authorized to make changes in the terms of this                             pay.
     policy with our consent This policy's terms can be                  F. Transfer of Your Rights and Duties Under This
     amended or waived only by endorsement issued by                        Policy
     us and made a part of this policy.
                                                                            Your rights and duties under this policy may not be
C. Examination of Your Books and Records                                    transferred without our written consent except in
   We may examine and audit your books and records                          the case of death of an individual named insured.
   as they relate to this policy at any time during the                     If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                           to your legal representative but only while acting
                                                                            within the scope of duties as your legal representa-
                                                                            tive. Until your legal representative is appointed,
                                                                            anyone having proper temporary custody of your
                                                                            property will have your rights and duties but only
                                                                            with respect to that property.




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        Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 50 of 51


                                                                                                          COMMERCIAL INTERLINE


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

     LINEBACKER PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
     LAW ENFORCEMENT LIABILITY COVERAGE FORM
     DATA COMPROMISE COVERAGE FORM
     IDENTITY RECOVERY COVERAGE FORM

The following is added:
The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On
each renewal, continuation, or anniversary of the effective date of this policy, we will compute the premium in
accordance with our rates and rules then in effect.




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    Case 6:20-cv-01101-EFM-GEB Document 1 Filed 04/16/20 Page 51 of 51



                                                                                   COMMERCIAL INTERLINE



                 KANSAS COMPANY ELIMINATION ENDORSEMENT

The Kansas Insurance Department requires the company to explain by this endorsement that:

                                    Employers Mutual Casualty Company,

is licensed to do insurance business in Kansas, but:

                                         EMCASCO Insurance Company
                                   Union Insurance Company of Providence
                                      EMC Property & Casualty Company
                                        Dakota Fire Insurance Company
                                 Illinois EMCASCO Insurance Company and
                                      Hamilton Mutual Insurance Company

are either not licensed companies in Kansas or are not authorized to provide the insurance afforded by this
policy and reference to such is hereby deleted from the policy.

This endorsement in no way affects the coverage under the policy/bond to which it is attached but is intended
only to clarify the name of the issuing company.




IL7605(1-08)                                                                                           Page 1011
